Reviscd 03/06 WDNY

 

FORM TO BE USED lN FILING A CIVlL COMPLAINT lN FEDERAL OURT
(Non-Prisoner Context)

All material filed in this C`ourt is now available'via the INTERNET. See Pro Se Privacy Notice for further information

1. CAP'I`ION OF ACTION

A. Fllll Nallle of Plail'ltiff: NOTE‘ Ifrn ore than one plaintt)_"fjiles this action andseelts informa pauperis status each plaintiff
must submit an informa pauperis application or the aniyplainti)j"to be considered will be the plaintrjj"who fled an application.

(-)P?E>‘\'c~,\»nso\ anf_:§'ee ~ FS`.\a\ "F\ `i’\¢..r:>rr /\\ ?Fn§)riq Pat\sar\q

?D\)`\ "7\"\_.'("~ ca
J

 

..vs_

B. Fllll Name($) OfDefe[ldant(S) NOTE: Pursuant to Fed.R. Civ.P. lO(a), the names ofallparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a Sepal'ate She€t, if necessary

1- C>'GC` Co¢" *'v<$°v€ Rnrqt"\n.ur*r 4- `RAAM¢§__}FQV"PO\;OQ DQ£;)¢~= f`j`{'uzf\`\'_
2_ S'+T‘_'\'e G'FT NO_N \IDO¥( 5.
3~ C.¢ -\=.{ E> ~(- Re;> dr\es¥\g_f 6.

 

 

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identi_)§) the basisforfederal Courtjurisdiction overyour clairn, such as th at the Unitea' States government is aparty to the action, all the
parties reside in different states and therefore you claim diversityjurisdiction, or the claim presents afetierol question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court: z QFQP(`°\\ &\t' 9,%`1`\ 0 /\ T"\X€_rw&t§qu-\-

_‘\E\LBJAAMKPF)N-Ajl.

State why the Western Distr¢'ct ofNew York is theproper venuefor this action, such as thatyour claim arises in or the defendant resides
in the 17 westernmost counties ofNew Yor}t State.

 

B. Reason for Venuein the Westem Distn`ct: TL'\€ t'V\C¢`QlQA`i/ 7LDO/< n [G\CF tx r\
go takes ¥p!“ `U L\/ j

!dentt_'jj) the nature ofthis action, such as that itis a civil rights claim, apersonal' injury orpersonalproperty (tort) claim, aproperty rights
clairn, or whatever it is.

C. Nature ofSuit: 6 DFLS`\\'\\ \`d infan \`\ lv~|; ()`Q §`\`¢_ *\\0 S`LE\X`\J '\'Q.S

 

 

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3. PARTIES TO THIS ACTION
PLAlNTlFF’S ]NFORMATION NOTE: To list additional plainti]']s, use this format on another sheet ofpaper.
Name ofl=ir'sr Plaimitf: C ct 5 im \<\o~ a,\ (`o noise - i-z; la\ § L fhwa tw\
Presont Address: ;lGj \‘ Q¢UJ, ,»\ W g o go C;\ \/‘p

 

Name of Second Plaintiff:
Present Acidress:

 

 

 

DEFENDANT’S I.NFORMATION NOTE: Ta list additional defendantsl use this format on another sheer ofpaper.

Name of First Defendant: ({> ‘C Q\` c o r' (\`O S(~7 \L c di t"\O`\J Q,`Z,

Official Position of Defendant (if relevant): Q;\ \ C Q G‘_ @“('\-§:{ ;).e_f_

Address of Defendant: Pub\¢ (~ g cape "u @v`\\&`\ t\¢ 13 § §x clr*\c`r@.€‘ z€>£hl\£§l_~g`,
N\Lt w a t u ` j d

Narne of Second Defendant: C,,` ';L\ , i'§`e R 53 cir\.!a§. h”Q_f

Official Position of Def`endant (if relevan§):

_AddressofDefendant: §§ C\\dn-'\r\ Q,S( (, ,\l_g>g\/\p_§‘\’g(" Il\)\-\l l\uc%\{*t

 

 

Name of Third Defendant: Q‘lt'c..h'e, FYQ l\) ~&LO \{ 0 E`l(

Official Position of Defendant (if relevant):

Address of Defendant: %"\L"h'? Cc\__id t 't"O\ pfl L-».;t\\(t i l\_l \(/ l \h rd\(d~m*\

 

 

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any othe`rl?suits in state or federal court dealing with the same facts involved in this action?
Yes No

 

 

If Yes1 complete the next section. NOTE: ff you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet ofpaper.

l. Name(s) of the parties to this other lawsuit
Plaintiff(s):

 

 

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Defendant(s):

 

 

2. Court (if federal court, name the district; if state court, name the county):

 

 

Docket or Index Number:

 

Name of.ludge to whom case was assigned:

 

The approximate date the action was fried:

 

53\5"':'**`.““1

What was the disposition of the case?
Is it still pending? Yes No

If not, give the approximate date it was resolved

 

Disposition (check those statements which apply):
Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of clairn;

 

ludgment upon motion or after trial entered for

plaintiff
defendant.

 

5. STATENI_EN'I` OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims ln other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. S(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim shall be made in numbered paragraphs, the contents cf each of
which shall be limited as far a practicable to a single set of circumstances."

 

A. FIRST CLAIM: On (date ofthe incident) ,
defendant (give the name and fit relevantl the position held of each defendant involved in this incident)

 

 

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did the following to me (briejly state what each defendant named above did):

 

 

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Cour't to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

B. SECON`D CLAIM: On (date of the incident)

 

defendant (gr`ve the name and (z'frelevant) position held of each defendant involved in this incident)

 

 

did the following to me (briejly state what each defendant named above did):

 

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

lf you have additional claims, use the above format to set them out on additional sheets ofpaper.

 

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6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above

 

 

 

 

 

Do you want a jury trial? Yes No

 

I declare under penalty 0‘1`p/erjury that the foregoing is true and correct.

Executedon !//.» /*,QO? _;iz{/%'j/¢/[M_` l l/;E?/OQ
" (date) '

'NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.

 

 

 

Signature(s) of Plaintiff(s)

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PETITION

United States Distriet Coul't
New York Western District

This petition is a complaint for a Lawsuit for the violation of rights; The Right to
Travel, Cruel Treatment, Detainment under Duress and Coercion.

U.S. Constitution (l) Amendment 4` (1791) Prohibits unreasonable search and
seizure, and requires a showing of probable cause for the issuance of any search warrant
or arrest warrant

(2) Arnendment 5 (1791) requires indictment by a grand jury before any person
can be put on trial for a capital or otherwise infamous crime, bans double jeopardy and
compulsory self-incrimination Prohibits the federal government from depriving any
person of life, liberty or property without due process of law and prohibits the taking of
private property for public use without just compensation

(3) Amendment 9 (1791) States that the listing of Specific Rights in the
Constitution is not to be Interpreted as suggesting that other Rights do not exist or are not
Equally deserving of Protection

(4) The 1787 Moroccan Treaty of Peace and Friendship

(5) The 1790 Sundry Free Moors Act

(6) Geneva Convention 1949 United Nations, Convention Right to Travel V.
92141 Intemational law federally enforced

(7) Pn'ncipal 3 of United Nations Declaration of the rights of the Clu'ld. Every
child at birth has The Right to a Name and a Nationality.

(3) File of the House of Representatives, Resolution Number 75 April 17, 1933
Moorish American Society and use of their Names.

(9) United Nations Universal Declaration of Human Rights Article 14
(10) United Nations; Rights of Indigenous People lnternational Law.

(11) The Executive Order 13107 Implementation of Human Rights Treatise

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(12) The Foreign Sovereign Immunities Act 28 U.S.C. 1601

(13) The convention on Intemational Road Tramc on The 19th day of September
1949
' (14) The World Court Decision, the Hague Netherlands 21 st day of January 1958.

Inoble Cristobael Cuffee-Bilal El-Mauritan, Am a Natural Born Aboriginal,
lndigenous, Divine being of The Moorish Nation Aflirm the Following:
PLAIN STATEMENT OF FACTS
(1) On Tuesday, November 3 2009 Khalif Bey and Cris El Mauritan were
Traveling in a Locornotjve at Approxirnately 10: 30 P.M

(2) While traveling not driving on Amett Blvd. I saw Rochester Police vehicles A
police car started to pursue K.ha]ifBey and Cris El Mauritan in a Vessel. We were stopped
at Arnett Blvd and Sherwood ave. ' .

(3) The Police Oflicer never stated why the vessel was stopped

(4) The Police Ofl:lcer then asked “Are You Guys missing something” referring to
the vessel, Which is not registered to the Department of Motor Vehicles.

I Cris El Mauritan then made the officer aware that l was expressing my right to
travel as an Aboriginal Moorish American National. I told the officers to contact a Sheriii`
or Customs Oflicial. I gave the police officer My Moorish American National
Identiiication Card and my Right to Travel Documents. The officers refused to take the
documents and called My Moorish American Identiiication invalid I told them my Right
to Travel is guaranteed in The U.S. Constitution Amendment 9(1791) and The Universal
Declaration of human rights Article 13(1) Everyone has the Right to freedom of
Movement and Residence within the borders of each State. Also, The Geneva Convention

1949 United Natiog, Convention Rith to Travel V. 92141 lnternational Law Federally
Enforced. The Convegtion on lntemational Road Traflic of 19th day of September 1949.

Cris El Mauritan is a 'I`raveler and was traveling on a public road. Black’s Law
Dictionary 4th Edition 1891. Travel: to go from one place to another at a distance; to
Joumey; Spoken ofVoluntary Change of Place. WH[TE V. BEAZLEY 1 BARN AND
ALD. 171 . The Right to_Travel is a Fundamental Right. Random House WEBSTER'S
DICTIONARY OF LAW 2000. Any Right Expressly Guaranteed by The Constitution or
deemed by The Supreme Court to be so basic to the concept of liberty as to protected
from government restriction Areas now Deemed Fundamental include voting and
running for office, Access to the Courts, Freedom of Travel, Freedom of Association and
Decision making in matters of marriage and Procreation. Cris El Mauritan was Traveling
not driving Definition of a Driver Black Law Dictionary 4TI-I Edition 1891. Driver: One
employed in conducting or operating a Coach, Carn`age, Wagon, or Other Vebicle with
Horses, Mules, or other Animals, or a Bicycle,Tricycle,or Motor Car, Though not a Street
Railroad Car. A person actually doing the driving if employed by owner to Drlve or

Driving his own Vehicle( WALLACE V. WOODS,340MO. 452, 102 S.W. 2D 91, 97.)

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The Police Ofticer then said that I did not have a Right to Travel without Registration
nom the Departrnent of Motor Vehicles. I handed him my Moorish Nationality Card,
which is registered in the library of Congress by C.M. BEY AA222141 and with the
Moorish American National Government. The officer told me that my Identification was
not a valid identification I asked the oflicers for their names and status for the record and
they refused to give me the information I would like to State that Cris El Mau.ritan is not
under any states Jurisdiction. The Supreme Court of the United States in the Landmark
case DRED SCOT'I` V. SANDFORD ( 1857 ) held that Negroes Slave or Free were not
included and were not intended to be included in the Category of “CITIZEN" as the word
was stated in the U.S. CONSTITUTION according to these facts of the established Law
of the Land. The true Nobles of The Moorish Empire (Free Moors) were not included and
were not intended to be included as citizens (SUBJECTS) of the Union States. I Cris El
Mauritan must also State that The Rights to Travel is a Constitutional, well as a Human
Right. There are numerous cases that prove this faet.

CASE # l "The Use of Highway for the purpose of Travel and Transportation is
not a mere Privilege but a Common Fundarnental Right of which the Public and
Individuals cannot rightfully be deprived” CH[CAGO MOTOR COACH V. CHICA§L!
169 NE. 221.

CASE # 2 “ The R.ight of The Citizen to travel upon the Public Highways and to
Transport his property There on, Either by Carriage or by Automobile is not a mere
Privilege which a City may Prohibit or Permit at will, but A Common Law Right which
he Has Under the right to Life, Liberty and The Pursuit of Happine_ss" THOMPSON V.
SMITH 54 SE 579.

CASE #3 “The Right to Travel is a part of 'I`he Liberty of which the Citizen
Cannot be Deprived without due Process of Law Under The 5th Amendment" KENT V.
DULLES.

CASE # 4 " The Right to Travel is a well established Common right that does not
owe it’s Existence to the Federal Govemment, It Is Recognized by the courts as a natural
ri t“ SCHACTMAN V. DU'LLES 96 APP DC 287 255 F2D 938 A'I` 941.

 

After I Cris El Mauritan gave The OH`Jcer my I.D. the officers told me and Khalif
Bey to Step out the Car. I was detained in the ofl:`lcer’s car; I was never read my Rights or
told what l was detained for. I was detained for two hours while still in the Police Car. I
was approached by Border Patrol, who was not the customs official or Sheriff. Officer
lose Rodriguez advised the other officers that they must tow the vessel The vessel was
towed. At this time, ICris EI Mauritan Sutfered, Loss of Freedom, Harassment, Slander,
Mental Anguish and Rights violated because I exercised a Fundamental Right. This
action that was taken by th'e Police Oflicers is a clear violation of the rights that are
guaranteed by the U.S. CONSTITUTION and INTERNA'I'IONAL LAW. Any action by
a Police Oh€icer, Officer of the Court, and Public Servant of the Government OB`lcial to
assert unlawfully under color of law will be construed as a direct and willful violation of

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our Constitution, and Treatise Protected rights and Protected to the iiill extent of natural
Law. TIILE 28 USC 17469.`

Further More, I Cris El Mauritan would like to site the following cases:

CASE #1 I-[ERTADO V. CALIFORNIA 110 US`516 TI-IE U.S. SUPREME
COURT STATES VERY PLAINLY: "The state cannot Dirninish Rights of the People"

CASE #2 BENET V. BOGGS 1 BALQW 60 "Statues that violate the plain and
obvious Principles of Common Right and Common Reason are null and Void"

CASE # 3 "The assertion of F ederal Rights when plainly and reasonably made is
not to be Defeated under The Name of Local Practice" DAVIS V. WECHSLER 263 US
22 AT 24.

CASE # 4 " Where Rights Secured by the Constitution are involved there can be
no rule making or Legislation which would abrogate them" M[RANDA V. ARIZONA
384 US 436 491

CASE # 5 " The Claim and Exercise ofa Constitutional Right Cannot be
Converted into a Crime" MILLBR V. US, 230 F 486 AT 489.

 

CASE # 6 “There can be no sanction or penalty Imposed Upon because of the
exercise of Constitutional Righ " SI-IENER V. CULLEN 481 F 946.

Cris El Mauritan is a descendant of the aboriginal/indigenous people
(MISNAMED) ll\lDlANS, who have been here in the so called America’s Thousands of
years before The State of New York. Cris El Mauritan is a Free Moorish National and is a
true Noble of the American land of my Moorish forefathers and Mothers of Moroccan
descent, who secured a unalienable and fundamental, unrestricted and unregulated right
to travel upon public walkways, and highways and transport our personal and allodial
property, dully conveyed, unhindered by any. private, corporate or statutory law or
Department of motor vehicles re gulation. 1787 Moroccan Treaty of Peace and Friendship.
This right is supported by the Constitution of United States of America Republic. Article
6 Section 2 This Constitution and the laws of the United States which shall be made in
pursuance thereof; and all treatise made or which shall be made under the authority of the
United States shall be the Supreme Law of the Land: And The Judges in every State shall
be bound thereby anything in the Constitution or Laws of any state to contrary not
withstanding.

Cris El Mauritan has the Right to Travel as stated in the Constitution of the
United States which does not state anything about a Drivers License. Cris El Mauritan
was expressing his human right to travel and individual sovereignty Indisovereignty:
each individual human being is created with a free will, but the full exercise of this will
depends upon reaching adulthood. As an adult the individual is free to exercise of this
sovereignty Responsibility for ones choice’s the main thing in being a sovereign
individual is the ability to make choices without receiving permission from anyone else
this is having complete authority over oneself.

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Cris El Mauritan is an Aboriginal/indigenous noble inhabitant ofNorth America,
operating under his own sovereign form of Government which has a Constitution named
the Zodiac Constitution registered with the Library of Congress and the Departrnent of
lustice. Cris El Mauritan does not need a Driver License to travel on his own Land.

Moorish Koran Chapter 47 Verse 6 and 7 The Moabites from the Land of Moab
who received permission from the Pharaohs of Egypt to settle and Inhabit North-West
Africa; they were the founders and are the true Possessors of the Present Moroccan
Ernpire. with their Canaanite, Hittite and Arnorite Brethren who soj oumed from The
Land of Canaan seeking new homes.(?) their dominion and inhibition extended li’orn
North-East and South-West Africa across The Great Atlantis even unto the present North,
South and Central America and Also Mexico and The Atlantis Island; before the great
earthquake which caused The Great Atlantic ocean, ln 1928, at the Pan-American
conference was held in Havana., Cuba Noble Drew Ali went to represent The Moors. At
that conference the mandate for Land Mass of Greater Amexem [North, Central and
South Amexem] misnomer as the North Central and South America was returned to the
Moors.

Con§lusion

Moorish Noble Cris El Mauritan has provided many facts that my human and
constitutional rights were violated by Rochester Police officers on November 3, 2009. 1
also have provided many facts that my rights to travel under the laws and treatise
pertaining to aboriginal and indigenous Moorish Nationals should be respected by
Rochester Police Departrnent, City of Rochester and The State of New York. The
expression of my Constitutional rights is not a crime,

Remedy_r Sougl_rt

l Cris El Mauritan seek a remedy of 25 million U.S. dollars. For being denied the
right to travel, unreasonable search and seizure of my private property without due
process of law. I hope this matter could be resolved and all police officers and judges
should honor their oaths. They should recognize that traiiic codes do not apply to
Moorish Nationals. There is no mentioning in the Constitution of Moorish Nationals
having to register a vessel Legal definitions of right’s "personal liberty or the right to
enjoyment of life and liberty is one the fundamental or natural rights which has been
protected by its inclusion as a guarantee in the various Constitutions which is not derived
from or dependent on the U.S. Constitution which may not be submitted to a vote and
may not depend on the outcome of an election.-

Iam:&(

' /
Cristobael Cufl`ee-Bilal El Mauritan,
Authorized Representative
Natmal Person, In Proprla Perscna:
All Rights Rescrved:
U.C.C. 1-207/ 1-308; U.C.C. l-103

    

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261 Ravenwood Ave
Rochestcr, NY
14619[Zip Exernpt]
Non-Domestic

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TI-IE MOORISH NATIONAL REPUBLIC
MOORISH DIVINE AND NATIONAL MOVEMENT OF THE WORLD
Aboriginal and Indigenous Natural Peoples of Northwest Amexem / North America

Affidavit of Financial Statement

(Exercise of Constitution - Secured Right)
Date: 11/27/2009

Cristobael Cuf`fee-Bilal El Mauritan Authorized Representative. Natural Person, ln Propria Persona:
All Rights Reserved:

U.C.C. l-207l 1-308; U.C.C. 1-103

Not a Corporate Person or Entity, Misrepresented by Fraudulent Construct of ALL CAPITAL LE'I'I'ERS
Iroquois Territory

C/o 261 Ravenwood Ave

Rochester, NY 14619 [Zip Exempt]

Non-Domestic

To:

United States District Court of Westem District of New York
Office of the Clerk

Kenneth B Keating Federal Building

100 State St

Rochester1 NY 14614

Iroquois Territory, New York Republic

[14614] usA

Notice of Judges and Officials’ Oath - Bound Obligations and Fiduciary Duties
Article V|

“All debts contracted and engagements entered into, before the adoption of this Constitution, shall be as
valid against the United States under this Constitution, as under the Confederation. This Constitution, and
the laws of the United States which shall be made in pursuance thereof; and all treaties made1 or which
shall be made, under the authority of the United States, shall be the supreme law of the land; and the judges
in every state shall be bound thereby, anything in the Constitution or laws of any State to the contrary
notwithstanding The Senators and Representatives before mentioned, and the members of the several state
legislatures, and all executive and judicial officers, both of the United States and of the several states, shall
be bound by oath or affirmation, to support this Constitution; but no religious test shall ever be required as
a qualification to any office or public trust under the United States.”

Article 1, Section X
“All debts shall be payable in gold or silver coin"

Amendment V
“ No Person shall be deprived of due process of iaw”

IAffirm, for the Record, I am unemployed and that I do not have, or possess, any gold or silver coins, as
prescribed by United States Constitution Law, which is the lawful money to pay the restricting demands,
conditionally commanded by Employees and Contractors of the Court. The said restrictions
(unconstitutional) are arbitrarily (hindering Due Process) and imposed for processing these Documents, as
stipulated in the United States Constitution noted above. 'I`herefore, I submit this Writ “In Forma Pauperis”,
being an enjoyment and exercise of my unconditional and Constitutionally - Secured Rights (and not a
feudal - fee - burdened privilege) to timely and speedin enforce Due Process of Law, as noted above.

Your demand for a “Financial Statements” is used as an instrument to deny me due process of law and my
right to free access to the courts. I introduced evidence in the form of an Affidavit of Fact and marked as
Evidence. Furthermore as there is no law as prescribed in the United States Constitution stating a

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people against color of law actions committed by those who violate their Oaths of Oftice colluding to
abridge the Rights seemed for the Natural Beings and the citizens

I Respectfully, with ‘Good Faith’ and with Honor1 by right to unhindered Due - Process, submit this
‘Aftidavit of Financial Statement’ and Evidence.

 

Cristobael Cuffee-Bilal El Mauritan

Authorized Representative

Natural Person, In Propria Persona:

All Rights Reserved:

U.C.C. 1-207/ 1~308; U.C.C. 1-103
[roquois Territor‘y

C/O 261 Ravenwood Ave
Rochester, NY 14619[Zip Exempt]
Non-Domestic

